462 F.2d 81
    Martha J. BAKER and James L. Fanin, For themselves and forall others similarly situated, Plaintiffs-Appellants,v.Elliot L. RICHARDSON, Secretary of Health, Education andWelfare, Defendant-Appellee.
    No. 71-3478.
    United States Court of Appeals,
    Fifth Circuit.
    June 26, 1972.
    
      Jay E. Loeb, Michael H. Terry, John C. Fauvre, Richard M. Pearl, Atlanta, Ga., for plaintiffs-appellants.
      John W. Stokes, Jr., U. S. Atty., Atlanta, Ga., Paul Merlin, Chief of Litigation, Soc. Security Div., Dept. of H. E. &amp; W., Harland F. Leathers, David Epstein, Kathryn H. Baldwin, Judith S. Feigin, Attys., L. Patrick Gray, III, Asst. Atty. Gen., Dept. of Justice, Washington, D. C., for defendant-appellee.
      Before WISDOM, THORNBERRY and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      The plaintiffs-appellants, Social Security claimants, contend that the Secretary of Health, Education and Welfare violated procedural due process in suspending benefit payments without prior adequate notice and without an evidentiary hearing.  We vacate the judgment of the district court and remand the case for reconsideration in light of Richardson v. Wright, 1972, 405 U.S. 208, 92 S.Ct. 788, 31 L.Ed.2d 151, Doyle v. Richardson, 5 Cir. 1972, 458 F.2d 987, and the Department's new procedures for dealing with overpayments, as set forth in the amended Social Security Administration's Claims Manual.
    
    
      2
      Vacated and remanded.
    
    